          Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 1 of 7



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

STRIKE 3 HOLDINGS, LLC,                         :
               Plaintiff,                       :
                                                :
          v.                                    :       Civ. No. 18-862
                                                :
JOHN DOE.,                                      :
                      Defendant.                :
                                                :

                                     STANDING ORDER


PLEASE READ THIS ORDER CAREFULLY. IT GOVERNS THIS CASE AND MAY
DIFFER IN SOME RESPECTS FROM THE LOCAL RULES.            THE TERM
“COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES APPEARING PRO SE.


       AND NOW, this 2nd day of March, 2018, in an effort to comply with Federal Rule of

Civil Procedure 1’s mandate “to secure the just, speedy, and inexpensive determination of every

action,” it is hereby ORDERED as follows:

I.     SERVICE

       A. This Order.

               Counsel for Plaintiff(s) shall serve this Order immediately on all Parties and/or

       their Counsel, including any new parties to the action. If this case was removed from

       state court, Defendant(s) who removed the case shall serve this Order on all other parties.

       B. The Complaint.

               Plaintiff(s) shall serve the Complaint expeditiously in accordance with Federal

       Rules of Civil Procedure 4 and 5. Any Defendant not timely served under Rule 4(m)

       shall be dismissed from the action without prejudice.
          Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 2 of 7



II.    ELECTRONIC FILING

              In accordance with Local Rule 5.1.2, I require that the Parties file electronically

       all documents via Electronic Case Filing. The Parties shall file all stipulations and

       proposed orders on the docket via ECF. Stipulations and proposed orders should not be

       delivered to the Clerk of Court.

III.   ASSIGNMENT TO MAGISTRATE JUDGE

              The Parties may consent to have a magistrate judge preside over all proceedings,

       including trial. See 28 U.S.C. § 636. The consent form is available on the Court’s

       website at http://www.paed.uscourts.gov/documents/handbook/forms/app_q1.pdf.

IV.    PRELIMINARY PRETRIAL CONFERENCE

              Pursuant to Rule 16, a Preliminary Pretrial Conference shall be held in Chambers

       as soon as practicable after a responsive pleading to the Complaint is filed. Lead Counsel

       shall attend the conference, be familiar with all aspects of the case, and have full authority

       to negotiate an amicable settlement. Counsel shall be accompanied by his or her client, or,

       in the case of corporate parties, a representative with full settlement authority. Requests to

       appear telephonically will not be granted.

V.     DISCOVERY

       A. Discovery Disputes Should Generally Be Settled by the Parties.

              Discovery shall begin as soon as possible.         I am not inclined to grant any

       extensions respecting the discovery or other case-related deadlines.            In ordinary

       circumstances, I expect that discovery will be well underway by the date of the

       Preliminary Pretrial Conference.




                                            Page 2 of 7
   Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 3 of 7



       I expect Counsel to comply with the Federal Rules of Civil Procedure and all

Local Rules respecting discovery.     In accordance with Rule 1 and the conciliation

requirements of Local Rule 26.1(f), Counsel shall make reasonable efforts to resolve

discovery disputes among themselves in an expeditious and professional manner.

       Counsel shall bring any unresolved discovery disputes to my attention as soon as

possible. Counsel shall file via ECF a brief letter or motion and attach the disputed

discovery request as an exhibit. Unless otherwise ordered, discovery will not be stayed

while any motion is pending, including any motion to dismiss and/or motion for

protective order. Ordinarily, I will schedule a telephone conference to resolve the

discovery motion promptly after it is filed—usually before any response is due.

       If a dispute arises during a deposition, I expect Counsel to phone Chambers

during the deposition so that I can resolve the dispute immediately.

B. Objections to Rule 34 Discovery Requests

       In objecting to a discovery request served under Rule 34, the Parties shall “state

with specificity the grounds for objecting to the request, including the reasons.” Fed. R.

Civ. P. 34(b)(2)(B). “An objection must state whether any responsive materials are

being withheld on the basis of that objection. An objection to part of a request must

specify the part and permit inspection of the rest.” Id. 34(b)(2)(C). General objections

will rarely be appropriate and may be punished by the imposition of sanctions.

C. Length of Discovery Period and Deadline Compliance.

       The complexity of the case will dictate the amount of time allowed for

discovery, which I will determine at the Preliminary Pretrial Conference. Generally,




                                    Page 3 of 7
         Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 4 of 7



      30 to 75 days will be sufficient time for discovery unless the case is complex or

      otherwise out of the ordinary.

             I look unfavorably on attempts to ambush opposing Counsel with the production

      of evidence or witnesses past the applicable cutoff date in the Case Management Order. I

      take these dates seriously and expect Counsel to do so as well.

VI.   MOTIONS PRACTICE

      A. Length and Format of Motion Papers.

             All motion papers must be double-spaced and prepared in 14-point, Times New

      Roman font, with margins of not less than one inch. Supporting memoranda of law shall

      not exceed twenty-five (25) pages (exclusive of table of contents and table of

      authorities), and replies shall not exceed twelve (12) pages.        Declarations and

      affirmations shall be limited to twenty (20) pages each. I will grant Parties leave to

      exceed these page limits only upon a showing of good cause.

      B. Reply, Sur-reply, and Supplemental Briefs.

             Unless otherwise ordered, I will accept reply or supplemental briefs, but

      normally will not await a reply brief before ruling. All reply briefs must be submitted

      within fourteen (14) days of the response brief unless otherwise ordered. All sur-reply

      briefs must be submitted within seven (7) days of the reply brief. Reply and sur-reply

      briefs shall not include declarations or exhibits.

      C. Rule 56 Motions.

             When moving for summary judgment pursuant to Federal Rule of Civil

      Procedure 56, the moving party shall file a separate, short, and concise statement of

      material facts, in numbered paragraphs, as to which the moving party contends there is




                                           Page 4 of 7
    Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 5 of 7



no genuine issue to be tried. Failure to include a statement of material facts may

constitute grounds for denial of a motion for summary judgment.

         The non-moving party shall include a correspondingly numbered paragraph

responding to each numbered paragraph in the statement of the moving party.

         Statements of material facts in support of or in opposition to a motion shall

include specific supporting record cites. All material facts set forth in the statement

required to be served by the moving party may be deemed admitted unless controverted

by the opposing party.

D. Emailing of Proposed Orders.

         I do not require the Parties to submit proposed orders with motions to dismiss or

motions for summary judgment. If a Party files a motion with a proposed order, he or she

shall email a copy of the proposed order, in Microsoft Word format, to

Chambers_of_Judge_Paul_S_Diamond@paed.uscourts.gov on the day the motion is

filed.

E. Mandatory Chambers Copies.

         Unless otherwise ordered, a copy of all papers filed with the Court shall be

delivered to Chambers no later than 12:00 noon the following business day. Chambers

copies shall be printed single-sided on opaque white paper of high quality.

         If documentary evidence in support of or in opposition to a motion exceeds 50

pages, the evidence shall be delivered to Chambers in hard copy. The documents shall be

placed in a three-ring binder, with an index and with each item of evidence separated by

tab dividers on the right side. In addition, Counsel shall provide a flash drive containing




                                    Page 5 of 7
          Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 6 of 7



       the documents in a single, OCR-scanned PDF with each item of evidence separated by

       labeled bookmarks. Counsel shall ensure that all documents are legible.

              Parties need not submit courtesy copies of cases that are available on Lexis or

       Westlaw with their motion papers.

       F. Oral Argument.

              I generally will not require oral argument on motions.

VII.   TRIAL PRACTICE

       A. Scheduling of Cases.

              I will schedule a trial date immediately following the Preliminary Pretrial

       Conference.

       B. Conflicts of Counsel.

              If Counsel become aware of professional or personal conflicts that may affect the

       trial schedule, they shall notify the Civil Deputy or my Law Clerks immediately.

       C. Trial Date Extensions.

              I am extremely reluctant to grant continuances of trial dates.

       D. Stipulations of Counsel.

              Counsel shall agree upon or stipulate to as many matters as possible before trial.

       E. Order of Proof.

              I require Counsel each day to inform the Court and opposing Counsel of the

       witnesses he or she expects to call the next trial day.

VIII. CONTINUANCES OR EXTENSIONS OF TIME

              Requests for continuances and extensions will generally not be granted. A motion

       to continue or extend the date of any matter or deadline must be supported by a detailed




                                            Page 6 of 7
         Case 2:18-cv-00862-PD Document 4 Filed 03/02/18 Page 7 of 7



      declaration demonstrating good cause for the continuance. The motion must also indicate

      whether there have been previous requests for continuances or extensions and whether I

      have granted or denied those requests.

                Counsel shall include proposed orders when requesting continuances or

      extensions. Counsel must submit any request for a continuance or extension no later

      than five (5) business days before the scheduled date. Requests submitted after that

      time shall be denied absent a showing of compelling circumstances (e.g., serious bodily

      injury or illness). All requests must be filed via ECF.

                Any late filing may be docketed only with leave of Court and upon a showing of

      good cause. Counsel shall file a motion for leave to file out of time, supported by a

      declaration demonstrating good cause, and shall attach the late filing as an exhibit.

IX.   COMMUNICATION WITH LAW CLERKS

                I permit Counsel to speak with my Law Clerks on scheduling and procedural

      matters only.

X.    CASES ON APPEAL

                I expect to receive a courtesy copy of any briefs filed in appeals from my

      decisions.


COUNSEL ARE REMINDED THAT RULE 1 REQUIRES THE PARTIES TO WORK
WITH EACH OTHER. OBSTRUCTIVE CONDUCT MAY RESULT IN THE
IMPOSITION OF SANCTIONS.


                                                            AND IT IS SO ORDERED.

                                                            /s/ Paul S. Diamond
                                                            _________________________
March 2, 2018                                               Paul S. Diamond, J.




                                          Page 7 of 7
